Case 1:20-cv-11736-LTS Document 50-5 Filed 03/25/22 Page 1 of 6

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

SHERWYN ROCKE, individually and on : Civil Action No.

behalf of all others similarly situated,

| 1:20-cev-11736-RWZ
Plaintiff,

v.

MONARCH RECOVERY
MANAGEMENT, INC.

Defendant.

DEFENDANT, MONARCH RECOVERY MANAGEMNET, INC.’S RESPONSES AND
OBJECTIONS TO PLAINTIFF’S FIRST SET OF REQUESTS FOR ADMISSIONS

NOW COMES Defendant, Monarch Recovery Management, Inc. (hereinafter “Monarch”) by and
through its undersigned counsel, Margolis Edelstein, and hereby submits the following responses and
objections to Plaintiff, Sherwyn Rocke’s (hereinafter “Plaintiff’) First Set of Requests for Admissions,

stating as follows:

1. MONARCH RECOVERY MANAGEMENT, INC. regularly collects debts owed or due to third
parties.

RESPONSE:
Admitted. Monarch admits that it regularly collects debts owed or due to third parties.

2. The principal business engaged in by MONARCH RECOVERY MANAGEMENT, INC. is the
collection of debt owed or allegedly owed to third parties.

RESPONSE:

Admitted. Monarch admits that its principal business is the collection of debts owed to third
parties.
Case 1:20-cv-11736-LTS Document 50-5 Filed 03/25/22 Page 2 of 6

. MONARCH RECOVERY MANAGEMENT, INC. has attempted collection of at least 100 debts
owed or allegedly owed to third parties during the year 2020.

RESPONSE:

Admitted. Monarch admits that it has attempted collection of at least 100 debts owed or allegedly
owed to third parties during the year 2020.

. MONARCH RECOVERY MANAGEMENT, INC. has attempted collection of at least 100 debts
owed or allegedly owed to third parties during the year 2019.

RESPONSE:

Admitted. Monarch admits that it has attempted collection of at least 100 debts owed or allegedly
owed to third parties during the year 2019.

. The NET WORTH of MONARCH RECOVERY MANAGEMENT, INC. is equal to or greater
than $250,000.

RESPONSE:
Admitted. Monarch admits that its net worth is greater than $250,000.

. The NET WORTH of MONARCH RECOVERY MANAGEMENT, INC. is equal to or greater
than $500,000.

RESPONSE:
Admitted. Monarch admits that its net worth is greater than $500,000.

. The NET WORTH of MONARCH RECOVERY MANAGEMENT, INC. is equal to or greater
than $1,000,000.

RESPONSE:
Denied. Monarch denies that its net worth is equal to or greater than $1,000,000,

. The NET WORTH of MONARCH RECOVERY MANAGEMENT, INC. is equal to or greater
than $5,000,000.

RESPONSE:

Denied. Monarch denies that its net worth is equal to or greater than $5,000,000.
10.

11.

12.

13.

14.

Case 1:20-cv-11736-LTS Document 50-5 Filed 03/25/22 Page 3 of 6
The NET WORTH of MONARCH RECOVERY MANAGEMENT, INC. is equal to or greater
than $10,000,000.
RESPONSE:
Denied. Monarch denies that its net worth is equal to or greater than $10,000,000.

The NET WORTH of MONARCH RECOVERY MANAGEMENT, INC. is equal to or greater
than $15,000,000.

RESPONSE:
Denied. Monarch denies that its net worth is equal to or greater than $15,000,000.

The NET WORTH of MONARCH RECOVERY MANAGEMENT, INC. is equal to or greater
than $25,000,000.

RESPONSE:
Denied. Monarch denies that its net worth is equal to or greater than $25,000,000.

The NET WORTH of MONARCH RECOVERY MANAGEMENT, INC. is equal to or greater
than $50,000,000.

RESPONSE:
Denied. Monarch denies that its net worth is equal to or greater than $50,000,000.

Admit MONARCH RECOVERY MANAGEMENT, INC. is a ‘debt collector” as defined in 15
U.S.C. § 1692a(6).

RESPONSE:

Admitted. Monarch admits that, at times, its conduct renders it a debt collector as defined under
15 U.S.C. § 1692a(6).

Admit that Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).
RESPONSE:

Admitted. Monarch admits that Plaintiff is a consumer as defined by 15 U.S.C. § 1692a(3) as,
upon information and belief, that Plaintiff owes a debt to First Premier Bank.
15.

16.

17.

18.

19.

Case 1:20-cv-11736-LTS Document 50-5 Filed 03/25/22 Page 4 of 6

Admit that the letter annexed to the Complaint as Exhibit A was computer generated.
RESPONSE:

Denied. Monarch denies that the letter annexed to Plaintiff's Complaint as Exhibit A was
computer generated.

Admit that the letter annexed to the Complaint as Exhibit A is a form letter.
RESPONSE:

Admitted. Monarch admits that the letter annexed to Plaintiff's Complaint as Exhibit A is a form
letter.

Admit that the letter annexed to the Complaint as Exhibit A, dated February 12, 2020 was mailed
on February 12, 2020.

RESPONSE:

Admitted. Monarch admits that the letter annexed to the Complaint as Exhibit A, dated February
12, 2020 was mailed on or around February 12, 2020.

Admit that the letter annexed to the Complaint as Exhibit A, dated February 12, 2020 was the
Defendant’s first communication with Plaintiff.

RESPONSE:

Admitted. Monarch admits that the letter annexed to the Complaint as Exhibit A, dated February
12, 2020 was Monarch’s first attempted communication with Plaintiff.

Admit that (1) during the time period of September 23, 2019 to the present, (2) MONARCH
RECOVERY MANAGEMENT, INC. sent an initial Collection Letter to at least 40 First Premier
Bank debtors located in Dorchester, Massachusetts (3) similar to that of “Exhibit A” annexed
hereto, (4) which Collection letter stated “Unless you notify this office in writing within 30 days
after receiving this notice that you dispute the validity of this debt, or any portion thereof, this
office will assume this debt is valid.

RESPONSE:

Denied. Monarch denies that from September 23, 2019 to the present it sent initial collection
letters to at least 40 First Premier Bank debtors located in Dorchester, Massachusetts similar to
that of “Exhibit A.”
Case 1:20-cv-11736-LTS Document 50-5 Filed 03/25/22 Page 5 of 6

20. Admit that (1) during the time period of September 23, 2019 to the present, (2) MONARCH

21.

RECOVERY MANAGEMENT, INC. sent an initial Collection Letter to at least 40 First Premier
Bank debtors located in Suffolk County, Massachusetts (3) similar to that of “Exhibit A” annexed
hereto, (4) which Collection letter stated “Unless you notify this office in writing within 30 days
after receiving this notice that you dispute the validity of this debt, or any portion thereof, this
office will assume this debt is valid.

RESPONSE:

Denied. Monarch denies that from September 23, 2019 to the present it sent initial collection
letters to at least 40 First Premier Bank debtors located in Suffolk, Massachusetts similar to that
of “Exhibit A.”

Admit that (1) during the time period of September 23, 2019 to the present, (2) MONARCH
RECOVERY MANAGEMENT, INC. sent an initial Collection Letter to at least 40 First Premier
Bank debtors located in Massachusetts (3) similar to that of “Exhibit A” annexed hereto, (4)
which Collection letter stated “Unless you notify this office in writing within 30 days after
receiving this notice that you dispute the validity of this debt, or any portion thereof, this office
will assume this debt is valid.

RESPONSE:

Admitted. Monarch admits that from September 23, 2019 to the present it sent initial collection
letters to at least 40 First Premier Bank debtors located in Massachusetts similar to that of
“Exhibit A.”
22.

Case 1:20-cv-11736-LTS Document 50-5 Filed 03/25/22 Page 6 of 6

Admit that (1) during the time period of September 23, 2019 to the present, (2) MONARCH
RECOVERY MANAGEMENT, INC. sent an initial Collection Letter to at least 40 debtors
located in the State of Massachusetts (3) similar to that of “Exhibit A” annexed hereto, (4) which
Collection letter stated “Unless you notify this office in writing within 30 days after receiving this
notice that you dispute the validity of this debt, or any portion thereof, this office will assume this
debt is valid.

RESPONSE:

Admitted. Monarch admits that from September 23, 2019 to the present it sent initial collection
letters to at least 40 debtors located in the State of Massachusetts similar to that of “Exhibit A.”

2%
RONALD M. METCHO

220 Penn Avenue, Suite 305
Scranton, PA 18503

(570) 342-4231 / (570) 342-4841 f
rmetcho@margolisedelstein.com

Attorneys for Defendant
Monarch Recovery Management, Inc.

MARGOLI

By:

